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  9                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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  11 ORLANDO GARCIA                               CASE NO:
                                                  2:20−cv−07925−FMO−KS
  12                  Plaintiff(s),
             v.                                   ORDER DISMISSING ACTION
  13
       APRIL L. MNOIAN , et al.                   WITHOUT PREJUDICE
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  16                 Defendant(s).

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  19         Having been advised by counsel that the above−entitled action has been settled,
  20    IT IS ORDERED that the above−captioned action is hereby dismissed without costs
  21    and without prejudice to the right, upon good cause shown within 45 days from the
  22    filing date of this Order, to re−open the action if settlement is not consummated.
  23    The court retains full jurisdiction over this action and this Order shall not prejudice
  24    any party to this action.

  25        IT IS SO ORDERED.
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       DATED: November 5, 2020                       /s/ Fernando M. Olguin
  27                                                Fernando M. Olguin
                                                    United States District Judge
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